              Case 21-10632-MBK                   Doc 1      Filed 01/26/21 Entered 01/26/21 03:30:14                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                L'Occitane, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  111 West 33rd Street, 20th Floor
                                  New York, NY 10120
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  120 Herrod Boulevard, Dayton, NJ 08810
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.loccitane.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    L'Occitane, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4461

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   L'Occitane, Inc.                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    L'Occitane, Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 26, 2021
                                                  MM / DD / YYYY


                             X   /s/ Yann Tanini                                                          Yann Tanini
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Regional Managing Director




18. Signature of attorney    X   /s/ Mark E. Hall                                                          Date January 26, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark E. Hall MH-9621
                                 Printed name

                                 Fox Rothschild LLP
                                 Firm name

                                 49 Market Street
                                 Morristown, NJ 07960
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973-992-4800                  Email address      mhall@foxrothschild.com

                                 MH-9621 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         L'Occitane, Inc.

 United States Bankruptcy Court for the:            NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               Verification of Creditors' Matrix
                                                                           Schedule of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 26, 2021                        X /s/ Yann Tanini
                                                                       Signature of individual signing on behalf of debtor

                                                                       Yann Tanini
                                                                       Printed name

                                                                       Regional Managing Director
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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      Fill in this information to identify the case:

      Debtor name L'Occitane, Inc.

      United States Bankruptcy Court for the:                           District of New Jersey

      Case number (If known):
                                                                                   (State)
                                                                                                                                              ❑ Check if this is an
                                                                                                                                                  amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and email           Nature of the    Indicate if     Amount of unsecured claim
     mailing address, including zip code         address of creditor contact                 claim (for       claim is        If the claim is fully unsecured, fill in only
                                                                                             example, trade   contingent,     unsecured claim amount. If claim is partially
                                                                                             debts, bank      unliquidated,   secured, fill in total claim amount and
                                                                                             loans,           or disputed     deduction for value of collateral or setoff to
                                                                                             professional                     calculate unsecured claim.
                                                                                             services, and
                                                                                             government
                                                                                             contracts)                       Total       Deduction for      Unsecured
                                                                                                                              claim, if
                                                                                                                              partially   value of           claim
                                                                                                                              secured     collateral or
                                                                                                                                          setoff

1    ESRT 112 West 34th Street, LLC             P: 212-687 8700
     111 West 33Rd Street                       F: 212-850-2751                              Rent                                                            $595,071.98
     New York, NY 10120                         E:DLucas@empirestaterealtytrust.com


2    Astor Retail Strategic Venture LLC
                                        P: 212-293-8800
     c/o Vanbarton Services, LLC                                                             Rent
                                        F: 212-293-8805                                                                                                      $581,103.82
     292 Madison Avenue, 7th Floor
                                        E:accountsreceivable@vanbartongroup.com
     New York, NY 10017

3    A/R Retail, LLC
     c/o Related Urban Management
                                                P: 212-801-7424
     Company                                                                                 Rent                                                            $484,910.82
                                                CashReceipts@Related.com
     60 Columbus Circle, 19th Floor
     New York, NY 10023

4    WTC Retail Owner LLC
     c/o Westfield World Trade Ctr, VP
     Leases
                                                P: 310-689-2636
     37th Fl., Suite C, 7 World Trade                                                        Rent                                                            $421,305.25
                                                E: usarremittances@westfield.com
     Center
     250 Greenwich Street
     New York, NY 10007
     170 Fifth Retail Condo LLC
5                                               P: 212-675-6953; 212-675-7260
     c/o Ranger Properties, LLC
                                                F: 212-675-7448
     Attn: Sheldon Stein                                                                     Rent                                                            $348,464.80
                                                E: ss@rangerproperties.com;
     11 West 25th Street, 6th Floor
                                                cj@rangerproperties.com
     New York, NY 10010

6    Woodbury Commons Premium
     Outlet                                     P: 317-636-1600
     c/o Simon Property Group                   E: SVOIGT@SIMON.COM;
                                                                                             Rent                                                            $327,530.69
     Attention: Premium Outlets                 3172637091@simon.com;
     225 West Washington Street                 acarrington@simon.com
     Indianapolis, IN 46204-3438

7    Bevill, Inc.
                                                P: 213-362-9300
     c/o IDS Real Estate Group
                                                F: 213-627-9937                              Rent                                                            $287,748.19
     515 S. Figueroa Street, 16th Floor
                                                E:elozano@idsrealestate.com
     Los Angeles, CA 90071


    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 1
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                                                          Document     Page 10 of 13
                  L'Occitane, Inc.                                                                Case number (if known)
    Debtor
                 Name




     Name of creditor and complete          Name, telephone number, and     Nature of the claim    Indicate if      Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,    total claim amount and deduction for value of
                                                                            services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff


8    Queens Center SPE LLC
     Attn: Center Manager                  P: 866-811-1095
                                                                            Rent                                                                           $268,153.86
     90-15 Queens Boulevard                E: queenscenterar@macerich.com
     Elmhurst, NY 11373-4900

9    Simon/Chelsea Las Vegas
     Development, LLC
                                         P: 317-263-7775
     c/o Simon Property Group-Premium
                                         F: 702-676-1184                    Rent                                                                           $248,389.35
     Outlets
                                         E: SGRAFT@SIMON.COM
     105 Eisenhower Parkway, First Floor
     Roseland, NJ 07068-1029

10 Facebook Inc.
   Attn: Accounts Receivable               P: 650-543-4800                  Professional
                                                                                                                                                           $236,877.43
   1601 Willow Rd                          E: ar@fb.com                     Services
   Menlo Park, CA 94025

11 63 Spring Lafayette, LLC
   362 Fifth Avenue, Suite 1200            E: MT@JTREHOLDINGS.COM Rent                                                                                     $227,651.44
   New York, NY 10001


12 Short Hills Associates, L.L.C.
   Department 53501                        P: 248-258-7209
                                                                          Rent                                                                             $214,225.35
   PO Box 67000                            E:shorthills_remit@taubman.com
   Detroit, MI 48267-0535

13 Hartford Realty Co.
   c/o One Ninety Realty Co., LLC
                                                                            Rent                                                                           $212,047.72
   616 East Palisade Avenue 1A
   Englewood Cliffs, NJ 07632

14 Metro-North Commuter Railroad           P: 212-340-2345
   Company
                                           F: 802-527-3482                  Rent                                                                           $210,562.50
   347 Madison Avenue
                                           E:GCTPAYMENTS@AM.JLL.COM
   New York, NY 10017

15 Aventura Mall Venture
   c/o Turnberry Aventura Mall
                                       P: 305-933-5518
   Company, Ltd
                                       F: 305-937-5509                      Rent                                                                           $205,112.37
   Attn: Legal Dept./Leasing Attorney
                                       E: EPEREZ@TURNBERRY.COM
   19501 Biscayne Boulevard, Suite 400
   Miami, FL 33180

16 Desert Hills Premium Outlet
   c/o Simon Property Group
                                           P: 317-636-1600
   Attention: Premium Outlets                                               Rent                                                                           $202,945.39
                                           E: tgehring@simon.com
   225 West Washington Street
   Indianapolis, IN 46204-3438

17 Tysons Corner Holdings LLC
   Attn: Center Manager                    P: 703-893-9400
                                                                          Rent                                                                             $195,206.33
   1961 Chain Bridge Road, Suite 105       E:TYSONSCORNER_AR@MACERICH.COM
   Mc Lean, VA 22102

18 Charles H. Greenthal Mgmt.              P: 212-340-9300
   Corporation
                                           F: 212-447-1662                  Rent                                                                           $191,580.84
   4 Park Avenue
                                           E: dneziri@greenthal.com
   New York, NY 10016



    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
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                L'Occitane, Inc.                                                           Case number (if known)
  Debtor
               Name




   Name of creditor and complete          Name, telephone number, and     Nature of the     Indicate if      Amount of unsecured claim
   mailing address, including zip code    email address of creditor       claim (for        claim is         If the claim is fully unsecured, fill in only unsecured
                                          contact                         example, trade    contingent,      claim amount. If claim is partially secured, fill in
                                                                          debts, bank       unliquidated,    total claim amount and deduction for value of
                                                                          loans,            or disputed      collateral or setoff to calculate unsecured claim.
                                                                          professional
                                                                          services, and
                                                                          government
                                                                          contracts)                         Total claim, if    Deduction for       Unsecured
                                                                                                             partially          value of            claim
                                                                                                             secured            collateral or
                                                                                                                                setoff


19 Commission Junction
   Attn: Legal Dept.                     P: 805-730-8000                  Professional
                                                                                                                                                    $191,200.43
   530 East Montecito St.                E: cjar@cj.com                   Services
   Santa Barbara, CA, 93103

20 La Cienega Partners Limited
   Partnership                           P: 248-258-7562
   Dept. 58801                           E: beverly_remit@taubman.com;    Rent                                                                      $190,863.31
   PO Box 67000                          jsanders@taubman.com
   Detroit, MI 48267-0588




  Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 3
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                                                               United States Bankruptcy Court
                                                                              New Jersey
 In re      L'Occitane, Inc.                                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 L'Occitane International S.A.                                                        200 shares                                 100%
 49, Boulevard Prince Henri
 L-1724, Luxembourg


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Regional Managing Director of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date January 26, 2021                                                       Signature /s/ Yann Tanini
                                                                                            Yann Tanini

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                               New Jersey
 In re      L'Occitane, Inc.                                                                               Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for L'Occitane, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 L'Occitane International S.A.
 49, Boulevard Prince Henri
 L-1724, Luxembourg




 None [Check if applicable]




 January 26, 2021                                                      /s/ Mark E. Hall
 Date                                                                  Mark E. Hall MH-9621
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for L'Occitane, Inc.
                                                                       Fox Rothschild LLP
                                                                       49 Market Street
                                                                       Morristown, NJ 07960
                                                                       973-992-4800 Fax:973-992-9125
                                                                       mhall@foxrothschild.com




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